                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 Statesville Division


 UNITED STATES OF AMERICA,

     v.                                                     No. 5:19-cr-22-MOC

 GREG E. LINDBERG, et al.,

                           Defendants.


           REPLY IN SUPPORT OF GREG E. LINDBERG’S MOTION
     TO DISMISS THE INDICTMENT FOR FAILURE TO STATE AN OFFENSE

          Facing a motion to dismiss that reveals the indictment’s defective allegations of an “official

act”—a required element of the charged offenses—the government has changed its theory mid-case.

No longer is the alleged official act only “the removal of the Senior Deputy Commissioner,” Jackie

Obusek. Indictment ¶ 14, Dkt. No. 3. Instead, in an attempt to distinguish McDonnell v. United States,

136 S. Ct. 2355 (2016), the government now argues that the relevant official act was the “replacement

of the senior deputy commissioner—not with ‘anyone’—but with a person of [Mr. Lindberg’s]

choosing”: defendant John Palermo. Gov’t Opp’n 8 & n.4, Dkt. No. 69; see also id. at 3, 7.

          For four reasons, the Court must reject this belated attempt to fix the indictment’s fatal flaws:

          First, the indictment does not identify the replacement of Ms. Obusek with Mr. Palermo as

the relevant official act—and for good reason. As the indictment itself confirms, Mr. Lindberg did not

agree with Commissioner Mike Causey on the hiring of Mr. Palermo, or another specific person, to

replace Ms. Obusek; Mr. Causey did not hire Mr. Palermo; and both sides abandoned the idea of doing

so before any quid was allegedly presented in exchange for a quo. The indictment instead identifies a

different basis for satisfying the official-act requirement: the removal of Ms. Obusek.

          But this alleged conduct does not satisfy McDonnell. Requesting that “anyone other than a

particular official be given the authority to take official action on future matters” is not “akin to a

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      Case 5:19-cr-00022-MOC-DSC Document 74 Filed 10/02/19 Page 1 of 15
lawsuit or administrative determination” and is, therefore, not an official act. Mem. in Supp. of Mot.

to Dismiss Indictment 16, Dkt. No. 64-1. Holding otherwise would raise constitutional concerns and

impede constituents’ efforts to demand better government from their elected officials—activity that

is at the heart of the First Amendment. Id. at 17-23.

        Second, even if the indictment identified the relevant official act as the replacement of Ms.

Obusek with “a person of [Mr. Lindberg’s] choosing,” the indictment would still fail the two-prong

McDonnell test. The indictment would fail the second prong because, as noted above, Mr. Causey never

agreed to hire Mr. Palermo and thus never made a decision “on” the matter. McDonnell, 136 S. Ct. at

2368. And it would fail the first prong because requesting an official to hire someone is not a “formal

exercise of governmental power” akin to a “lawsuit, hearing, or administrative determination.” Id.

Again, deeming this request criminal would impinge on First Amendment and other constitutional

rights. The government’s out-of-Circuit, non-binding authority does not change that conclusion.

        Third, the Section 666(a)(2) charge also must be dismissed due to the lack of an official act. See

Indictment ¶¶ 85-86. The Fourth Circuit has held that Section 666(a)(2) requires proof of an official

act. McDonnell provides further support for that precedent. And it is not undermined by dicta in the

Second Circuit’s decision in United States v. Ng Lap Seng, 934 F.3d 110 (2d Cir. 2019), or the other non-

binding authority cited by the government.

        Finally, the indictment does not identify conduct that constitutes “core” bribery. Under Skilling

v. United States, 561 U.S. 358 (2010), honest-services fraud requires proof of a benefit to the payor. The

government has cited no post-Skilling decision that extinguishes this requirement. Here, the requested

staffing change would not have necessarily benefited Mr. Lindberg. Thus, Skilling provides an

independent basis for the Court to dismiss the indictment against Mr. Lindberg.




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      Case 5:19-cr-00022-MOC-DSC Document 74 Filed 10/02/19 Page 2 of 15
                                             ARGUMENT

        The government is incorrect that the jury, rather than the Court, must decide the legal

definition of “official act.” Gov’t Opp’n 4-5. Before trial, a defendant may move to dismiss an

indictment for failure to state an offense. Fed. R. Crim. P. 12(b)(3)(B)(v). And the Court must grant

the motion if the “indictment fails to allege facts which constitute a prosecutable offense.” United States

v. Coia, 719 F.2d 1120, 1123 (11th Cir. 1983). Thus, where there is “an infirmity of law in the

prosecution” contained in the indictment, a case should not reach a jury. United States v. Engle, 676

F.3d 405, 415 (4th Cir. 2012). That is the situation here. Because Mr. Lindberg’s indictment fails to

allege either an official act—a required element of all charges against him—or a bribery scheme that

benefitted him, the Court must dismiss the indictment.

I.      The Indictment’s Only Basis for Meeting the Official-Act Element—the Requested
        Removal of a Government Employee—Does Not Satisfy McDonnell ’s Requirements.

        The indictment alleges only one potential official act: the requested removal of Ms. Obusek.1

The government has now retreated from the indictment’s plain text. Through its opposition, the

government argues that the relevant “official act” is the replacement of Ms. Obusek specifically with

a person of Mr. Lindberg’s choosing. But the indictment does not list the hiring of Mr. Palermo or

anyone else as the relevant official act. Thus, the only question before this Court is whether the

requested removal of Ms. Obusek meets both prongs of the McDonnell test. It does not.

        A.      The Indictment Does Not Identify the Replacement of Ms. Obusek with a
                Person of Mr. Lindberg’s Choosing as an Official Act.

        When assessing an indictment’s sufficiency, a court’s review is “limited to the allegations

contained in the indictment.” Engle, 676 F.3d at 415. A court may not examine evidence outside the




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  Note that it is undisputed that Ms. Obusek would not have been terminated from her position but
simply removed from matters related to Mr. Lindberg (much like a recusal for a personal conflict).

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      Case 5:19-cr-00022-MOC-DSC Document 74 Filed 10/02/19 Page 3 of 15
indictment. See id. Thus, in deciding whether this indictment satisfies McDonnell, this Court must

examine only the purported official act alleged in the indictment.

       The only “specific official action” alleged in the indictment is “the removal of the Senior

Deputy Commissioner of the [North Carolina Department of Insurance],” Jackie Obusek. Indictment

¶ 14. The indictment identifies no other potential official act. In fact, in an e-mail to Mr. Lindberg’s

counsel, the government “agree[d] that the only official act alleged in the indictment is the removal

and replacement of Senior Deputy Commissioner A.”

       Nonetheless, in its opposition, the government attempts to change course. It now argues that

the alleged official act includes the “replacement of the senior deputy commissioner—not with

‘anyone’—but with a person of [Mr. Lindberg’s] choosing.” Gov’t Opp’n 8 n.4.

       But the government’s argument is barred. The indictment does not identify the relevant official

act as the hiring of Mr. Palermo or any other specific person to replace Ms. Obusek. Thus, this Court

cannot consider whether the hiring of a specific person is an official act under McDonnell. It may

consider only whether the removal of an employee and her replacement with anyone is an official act.

       Even if the Court could look outside the indictment, Mr. Causey and Mr. Lindberg never

reached an agreement to hire Mr. Palermo or another specific person to replace Ms. Obusek. The

indictment confirms this: Though Mr. Palermo was mentioned as a possible replacement, Mr. Causey

decided not to hire Mr. Palermo, and Mr. Lindberg supported that decision. Indictment ¶¶ 36, 41-43.

       B.      The Requested Removal Does Not Meet Either Prong of McDonnell.

       Thus, the only question is whether the removal of a government employee is an official act.

As explained in Mr. Lindberg’s motion, McDonnell defines a two-part test for answering this question.

See Mem. in Supp. of Mot. to Dismiss Indictment 13. Neither prong is met here.




                                                   4

      Case 5:19-cr-00022-MOC-DSC Document 74 Filed 10/02/19 Page 4 of 15
                1.      The removal of a government employee is not a “matter” or “question”
                        under the first prong of McDonnell because it is not akin to a lawsuit,
                        hearing, or administrative decision.

        The removal of an employee is not a “matter” or “question” because it is not “a formal exercise

of governmental power that is similar in nature to a lawsuit, administrative determination, or hearing.”

McDonnell, 136 S. Ct. at 2370. The removal of an employee may affect who makes an administrative

decision. But it is not a “matter” or “question” for the same reasons that the conduct in McDonnell did

not qualify as one. In McDonnell, the government argued that Governor McDonnell performed an

official act when he arranged meetings between Jonnie Williams, who had given him financial

contributions, and State officials in charge of decisions on research studies for Williams’s company.

Id. at 2365-66. The Supreme Court noted that “a decision or action to initiate a research study—or a

decision or action on a qualifying step, such as narrowing down the list of potential research topics—

would qualify as an ‘official act.’” Id. at 2370. But it held that setting up a meeting to talk about a

research study is not a “matter” or “question” because it is not “of the same stripe as a lawsuit before

a court, a determination before an agency, or a hearing before a committee.” Id. at 2369; see id. at 2370.

        The government cites no case that holds that removing an employee is a “question, matter,

cause, suit, proceeding or controversy” that qualifies as an official act. 18 U.S.C. § 201(a)(3). Instead,

the government insists that the removal of an employee is a “matter” under the honest-services fraud

statute because it is “focused, concrete, and within the specific duties of the Commissioner” and

because it is “the kind of thing that can be put on an agenda, tracked for progress, and then checked

off as complete.” Gov’t Opp’n 8. But this argument does not address whether removal of an employee

is a “matter.” It addresses only separate requirements of the honest-services fraud statute: that the

alleged “matter” be one that “may at any time be pending” and that “may by law be brought” before

an official. 18 U.S.C. § 201(a)(3). McDonnell confirms that these requirements are separate:

        In addition to the requirements we have described, § 201(a)(3) states that the question or
        matter must be “pending” or “may by law be brought” before “any public official.” “Pending”
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      Case 5:19-cr-00022-MOC-DSC Document 74 Filed 10/02/19 Page 5 of 15
        and “may by law be brought” suggest something that is relatively circumscribed—the kind of
        thing that can be put on an agenda, tracked for progress, and then checked off as complete.
        In particular, “may by law be brought” conveys something within the specific duties of an
        official’s position—the function conferred by the authority of his office.

McDonnell, 136 S. Ct. at 2369. Thus, these requirements are relevant only once the government proves

the existence of a “matter” that satisfies McDonnell. Here, the government ignores that threshold step.

        The Court must reject the government’s invitation to hold that any action that meets the

definitions of “pending” and “may by law be brought” is a “matter” under the honest-services fraud

statute. Doing so would contradict McDonnell. In McDonnell, each action at issue was also “focused,

concrete, and within the specific duties of” Governor McDonnell and was “the kind of thing that can

be put on an agenda, tracked for progress, and then checked off as complete.” Yet none of his actions

were held to be official acts because they involved neither “matters” nor “questions.” Id.

        The government’s cited examples of official acts—the appointment of bribe payor to an

ambassadorship, the hiring of a person to a congressional staff, the obtaining of a resolution by a

speaker of a state, and the attempt to obtain disclosure of text messages from the FBI—likewise do

not prove the existence of an official act here. Gov’t Opp’n 7. Each example comes from a non-

binding decision. And each example is distinguishable.

        First, the appointment of someone to an ambassadorship is a duty imposed on a President by

the Constitution, and it requires Senate approval. United States v. Fattah, 914 F.3d 112, 155 (3d Cir.

2019). No similar nomination or legislative process is required for the removal of a deputy

commissioner in a State insurance department. And unlike a request to appoint an ambassador, the

request to remove and replace Ms. Obusek did not require the hiring of any specific person.

        Second, assuming that the Third Circuit correctly held that the hiring of a person to a

congressional staff is an official act, id. at 156, Mr. Lindberg made no such request here. As alleged in

the indictment, Mr. Lindberg asked only for Ms. Obusek’s removal, but neither Mr. Causey nor Mr.

Lindberg agreed on the hiring of a specific person to replace her.
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      Case 5:19-cr-00022-MOC-DSC Document 74 Filed 10/02/19 Page 6 of 15
        Third, obtaining a resolution from a State legislature requires legislative action, which is a

paradigmatic example of a “formal exercise of governmental power.” McDonnell, 136 S. Ct. at 2369.

But in Mr. Lindberg’s case, no legislative action occurred.

        Fourth, the disclosure of communications by a task force officer for the FBI involves an

“administrative determination” to release content. These disclosures are governed by the Stored

Communications Act, 18 U.S.C. §§ 2701-2712, which requires that the “disclosure of this content” be

“made in the proper performance of the official functions of the [law enforcement] officer . . . making

the disclosure.” United States v. Jones, 207 F. Supp. 3d 576, 582 (E.D.N.C. 2016) (quoting 18 U.S.C. §

2707(g)). So the disclosure of communications necessarily involves official action in accordance with

a statutory scheme. In contrast, the removal of Ms. Obusek would have resulted in a new decision-

maker, but it would not have resulted in a similar administrative decision.

                2.      The removal of an employee does not meet the second prong of
                        McDonnell because it is not a decision “on” any other matter that might
                        qualify as an official act.

        The requested removal of Ms. Obusek also fails McDonnell’s second prong because it is not a

decision or action “on” any other matter that might qualify as an official act, like the evaluations of

Mr. Lindberg’s companies.

        In McDonnell, the Supreme Court acknowledged that “a decision or action to initiate a research

study” is an official act. McDonnell, 136 S. Ct. at 2370. But under the second prong of McDonnell, it

held that “[s]etting up a meeting . . . to talk about a research study or to gather additional information”

is not “a decision or action” on “whether to initiate the study.” Id. at 2371.

        Similarly, while a decision on an examination of Mr. Lindberg’s companies might qualify as an

official act, the removal of an official who oversees the examination does not. The indictment never

alleges that Mr. Lindberg demanded a positive evaluation of his companies. Indeed, no evaluations of

his companies were ongoing at the time. Indictment ¶ 4. Rather, Mr. Lindberg is alleged to have asked


                                                    7

      Case 5:19-cr-00022-MOC-DSC Document 74 Filed 10/02/19 Page 7 of 15
for Ms. Obusek’s removal because she was “deliberately and intentionally and maliciously hurting [his]

reputation” in the insurance industry and was “lying . . . to hurt [his] name.” Id. ¶ 31. Removal of a

biased employee is not an official act under the second prong of McDonnell—even if the employee

herself performs official acts.

II.     Even if the Indictment Purported to Rely Upon a Request to Hire a Specific Person as
        an Official Act, It Would Still Not Satisfy McDonnell.

        Even if the indictment attempted to rely upon the hiring of Mr. Palermo or someone else as

an official act—which it does not—that conduct would still not meet the requirements of McDonnell’s

test for two reasons. First, it would not meet the second prong of the official-act test, which requires

the government to “prove that the public official made a decision or took an action ‘on’ [the] question,

matter, cause, suit, proceeding, or controversy, or agreed to do so.” Id. at 2368. Second, the hiring of

an employee is not a “matter” or “question” under the first prong of the official-act test.

        A.      The Government’s Theory Fails McDonnell ’s Second Prong Because Mr.
                Causey Never Made a Decision “On” the Hiring of a Specific Person.

        Although a payor might ask a government official to hire someone who favors the payor, that

request would not become “a decision or action on” a pending matter or question under the second

prong of the official-act test unless the official chose or agreed to hire the person. McDonnell, 136 S.

Ct. at 2371. An official’s consideration of a suggested hire is no more an “official act” than his

“expressi[on of] support for [a] research study at a meeting.” Id.

        According to the indictment, Mr. Causey never hired or agreed to hire Mr. Palermo or any

other person. While Mr. Lindberg mentioned Mr. Palermo as a potential hire, Mr. Causey ultimately

did not hire him—a choice that Mr. Lindberg supported. Indictment ¶¶ 36, 41-43. And the possibility

was abandoned long before Mr. Lindberg allegedly directed the payment of a campaign contribution

for Mr. Causey’s benefit. Id. ¶¶ 41-43, 50. Thus, even if the indictment identified Mr. Palermo’s hiring




                                                   8

      Case 5:19-cr-00022-MOC-DSC Document 74 Filed 10/02/19 Page 8 of 15
as an official act, the theory would fail McDonnell’s second prong because the facts alleged in the

indictment do not support that theory.

        This difference distinguishes this case from United States v. Fattah, 914 F.3d 112 (3d Cir. 2019),

the chief authority upon which the government relies. In Fattah, unlike here, the hiring decision was

consummated. Id. at 139 (explaining that a congressman “hired” the girlfriend of a bribe payor, and

that she worked in his office for “about two months”). Thus, “the public official made a decision or

took an action ‘on’” the conduct alleged to have been an official act—the hiring of the bribe payor’s

girlfriend. Id. at 156. Because nothing of the sort is alleged here, Fattah does not help the government.

        B.      The Hiring of a Person Is Not a “Matter” or “Question” Under McDonnell ’s
                First Prong.

        This Court should also hold that the hiring of a person fails the first prong of the official-act

test. Hiring a specific person as a senior deputy commissioner does not qualify as a “matter” or

“question” under McDonnell. The hiring decision affects only who gets to decide future matters or

questions, but it does not guarantee any particular outcome. In that regard, it is similar to the conduct

alleged in McDonnell. There, Governor McDonnell selected a specific official, who was capable of

deciding a constituent’s request, to meet with the constituent. McDonnell, 136 S. Ct. at 2370. The

Supreme Court held that this conduct was not an official act. Id. at 2369-71.

        The government cites only one case that held that hiring an employee was an official act. In

Fattah, the Third Circuit held that hiring a person to a congressional staff was an official act. See 914

F.3d at 156-57. But Fattah does not bind this Court, and the Court should not follow it for two reasons.

        As an initial matter, the Third Circuit provided no reasoning to support its conclusion that the

hiring of a congressional staffer was a “matter” under the first prong of the official-act test. The Third

Circuit’s analysis consists of one conclusory sentence: “Here, under McDonnell’s Step 1(A), the relevant

‘matter’ is the decision to hire Zionts,” the hiree at issue. Id. at 156. The opinion never explains why

this hiring resembles a lawsuit, hearing, or administrative determination, as required by McDonnell. Its
                                                    9

      Case 5:19-cr-00022-MOC-DSC Document 74 Filed 10/02/19 Page 9 of 15
analysis instead focuses mostly on the other two requirements of the statute: that a matter be one that

is “pending” and “may by law be brought” before an official. Id. at 156-57. As explained above, those

requirements are separate from whether something qualifies as a “matter” under McDonnell.

        In addition, the Third Circuit did not address the constitutional implications of its

interpretation. Prosecuting someone based on the hiring of a State employee raises the same federalism

and vagueness concerns that were implicated in McDonnell. It also raises similar First Amendment

concerns. A constituent could be prosecuted for contributing money to a State or federal official and

asking the official to hire employees who support a preferred public-policy position, whether that

position is national in scope, like the regulation of electronic cigarettes, or purely local, like the pothole

priorities of a public-works department. Constituents have the right to lobby their elected officials to

hire people who represent their views on big and small issues—and to fire those who do not.

III.    Both Honest-Services Fraud and Section 666(a)(2) Require Proof of an Official Act,
        and Therefore, Both Charges Must Be Dismissed.

        The failure to allege an official act is fatal to the honest-services fraud count against Mr.

Lindberg. See McDonnell, 136 S. Ct. at 2361, 2375. It is equally fatal to the Section 666(a)(2) count.

        In United States v. Jennings, 160 F.3d 1006 (4th Cir. 1998), the Fourth Circuit held that Section

666(a)(2) requires proof of an official act. The Court repeatedly referred to “official act[s]” or “official

action” in the opinion, and it affirmed the conviction precisely because a “reasonable juror could have

concluded that there was a course of conduct involving” payments of bribes “in exchange for a pattern

of official actions favorable to [defendant’s] companies.” Id. at 1012-14, 1018. This holding remains

good law in light of McDonnell, which does not address Section 666’s requirements.

        The Fourth Circuit’s holding in Jennings makes sense. Section 666 is a direct outgrowth of

Section 201, which defines “official act,” Jennings, 160 F.3d at 1012-13, and which was used by the

Supreme Court as a basis for interpreting the honest-services fraud statute in McDonnell. Section 666

was enacted only to resolve a circuit split as to whether State and local officials could be prosecuted
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       Case 5:19-cr-00022-MOC-DSC Document 74 Filed 10/02/19 Page 10 of 15
under Section 201. It would make little sense to require proof of an official act for the honest-services

fraud statute, which is unrelated to Section 201, but to not require the same proof for Section 666,

which is directly related to Section 201. See Mem. in Supp. of Mot. to Dismiss Indictment 9-11.

        The government ignores all of this. Instead, it relies on three non-binding decisions, each of

which reasons that because the term “official act” does not appear explicitly in Section 666, this Court

should impose no such requirement. See Gov’t Opp’n 13-14. But the same could be said for the

honest-services fraud statute; it does not use the phrase “official act.” And yet the Supreme Court

imported that requirement from Section 201 to avoid serious constitutional issues about the scope of

the honest-services fraud statute. The Jennings decision avoids similar constitutional issues by imposing

the “official act” requirement on Section 666 prosecutions.

        The government does not consider the serious constitutional issues that would be posed by

not including the same “official act” limitation in Section 666. For example, the government could

have charged former Governor McDonnell with a violation of Section 666 on the theory that the

meetings and studies that he was helping to procure were a “thing of value of $5,000 or more.” 18

U.S.C. 666(a)(1)(B). Yet that prosecution would have presented the same First Amendment,

federalism, and vagueness concerns that plagued his prosecution for honest-services fraud.

        Moreover, as Mr. Lindberg pointed out, the government’s argument would mean that Section

666, which is aimed at State and local officials, is broader than Section 201, Section 666’s counterpart

for bribery involving federal officials. Mem. in Supp. of Mot. to Dismiss Indictment 10. The federalism

concerns that underlie McDonnell’s holding should preclude that absurd result.

        The government’s principal authority for its argument, United States v. Ng Lap Seng, 934 F.3d

110 (2d Cir. 2019), does not override Jennings for two reasons. First, as a Second Circuit decision, Ng

Lap Seng is non-binding. This Court must follow the precedential Jennings decision until told otherwise

by the Fourth Circuit or the Supreme Court. Second, the holding of Ng Lap Seng is only that proof of

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     Case 5:19-cr-00022-MOC-DSC Document 74 Filed 10/02/19 Page 11 of 15
an “official act” is not required for “§ 666 as applied to non-government ‘organizations,’” which this

case does not involve. Id. at 137. The Second Circuit’s discussion of Section 666’s requirements as

applied to government entities is dicta, because that case did not implicate a government entity. See

Wright v. Spaulding, No. 17-4257, 2019 WL 4493487, at *5 (6th Cir. Sept. 19, 2019) (explaining that a

discussion is dicta if it does not “contribute to the judgment,” and the court did not “rest [its]

judgment” on the discussion). So Ng Lap Seng’s analysis of Section 666’s requirements for government

entities not only does not bind this Court; it also does not bind the Second Circuit. Thus, nothing in

Ng Lap Seng relieves this Court of its obligation to follow Jennings.

IV.     The Indictment Is Also Defective Because It Fails to Allege a Core Bribery Scheme
        Under Skilling.

        In addition to McDonnell, the Supreme Court’s decision in Skilling v. United States, 561 U.S. 358

(2010), provides an independent basis for dismissing this prosecution. In Skilling, the Supreme Court

held that honest-services fraud covers only “core” or “prototypical” bribery where a payor gives

something to a payee and the payor receives a benefit. Id. at 409, 413. Thus, the Supreme Court

rejected the prosecution of a defendant who had profited from a fraud scheme but had not received

anything of value from a third party in exchange for his misrepresentations. Id. at 413.

        This indictment does not allege any benefit to Mr. Lindberg or his associates, as required by

Skilling. Nor could it. He would not have profited from any contributions to Mr. Causey because the

removal of Ms. Obusek did not assure better outcomes for him or his companies. Nor did it even

make better outcomes more likely, since Ms. Obusek could have been replaced with anyone.

        Contrary to the government’s view, the Supreme Court’s holding in Skilling applies to this case.

Gov’t Opp’n 9. In Skilling, the Supreme Court rejected the government’s theory that honest-services

fraud covers “undisclosed self-dealing” precisely because that conduct did not constitute prototypical

bribery. Id. at 410. In so holding, the Supreme Court made clear that the honest-services fraud statute

covers only situations in which a bribe payor profits from a bribe or receives a kickback. Id. at 413.
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      Case 5:19-cr-00022-MOC-DSC Document 74 Filed 10/02/19 Page 12 of 15
        The government’s circuit-level authorities do not undermine Skilling. Gov’t Opp’n 10-11. All

of those decisions were issued before Skilling, which clarified this requirement in the honest-services

fraud statute. Thus, the Court cannot rely on them. But regardless, none of them hold that a benefit

is not required in honest-services fraud or bribery convictions. In fact, two of the cases explicitly

mention a benefit to either the defendant or someone else in a fraudulent scheme. See United States v.

Spano, 421 F.3d 599, 603 (7th Cir. 2005) (noting only that when a defendant is charged in a “scheme

to defraud,” the benefit can accrue to another participant in the scheme); United States v. Alfisi, 308

F.3d 144, 148, 150-51 (2d Cir. 2002) (noting that a payor can be guilty of bribery if he pays for the

payee to “inspect and report accurately on [the payor’s] produce,” even if that benefit is one that the

payor is legally entitled to receive). And the two other cases address only prosecutions of payees. United

States v. Quinn, 359 F.3d 666, 670-71, 675 (4th Cir. 2004); United States v. Jannotti, 673 F.2d 578, 580,

601 (3d Cir. 1982). The courts in those cases had no occasion to say whether the government must

prove a benefit to a payor, and their opinions say nothing about that topic.

        Finally, the jury should not get to decide whether Mr. Lindberg received any benefit. Gov’t

Opp’n 10. A case should never go to a jury if the “indictment fails to allege facts which constitute a

prosecutable offense.” Coia, 719 F.2d at 1123. The indictment here does not state a prosecutable

offense because it does not allege facts showing that Mr. Lindberg benefited from any contribution.

                                           CONCLUSION

        For the foregoing reasons, the Court should dismiss in full the indictment of Mr. Lindberg

under Federal Rule of Criminal Procedure 12(b)(3)(B)(v).




                                                   13

     Case 5:19-cr-00022-MOC-DSC Document 74 Filed 10/02/19 Page 13 of 15
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                                    14

    Case 5:19-cr-00022-MOC-DSC Document 74 Filed 10/02/19 Page 14 of 15
                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 2, 2019, I electronically filed the foregoing reply brief with

the Clerk of Court using the CM/ECF system, which will send notification to counsel of record.

 Dated: October 2, 2019                             Respectfully submitted,

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     Case 5:19-cr-00022-MOC-DSC Document 74 Filed 10/02/19 Page 15 of 15
